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                                                   EXHIBIT 15
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Cory, Cindy

From:                                RoveConcepts <info@roveconcepts.com>
Sent:                                Friday, August 29, 2014 1:00 PM
To:                                  Wassom, Brian D.
Subject:                             Re: Notice of Duty to Preserve


As you have noticed, we launched a new website version only very recently. The new version incorrectly carried over content that was
removed previously on the old site. We are working quickly to revert back to removal of the content.

With regard to concern over display, it was the intention to block all US traffic from any 'Eames' content. As we were informed from
developers, there is no perfect way to accomplish this but use a IP database that should work at a seemingly high percentage. We are
combing through the new website now for the same removal of any Eames content. Developers have been given priority to have this
done by next week.




On Thu, Aug 28,2014 at 7:53 AM, Wassom, Brian D. <BWassom@.honigman.com> wrote:


Rove Concepts;




Please also be on notice that you have a legal obligation to preserve evidence pertaining to your use of the EAMES name
and Eames-inspired furniture reproductions, including the Lounge Chair and Ottoman and the Aluminum Group chairs.
Because you have repeatedly been put on notice that you are infringing Herman Miller's rights and that litigation
against you is a reasonable possibility, you are ethically and legally prohibited from deleting or otherwise destroying
evidence of that infringement. This includes not only paper documents and physical furniture but also emails, websites,
HTML code, and social media content. Destroying such evidence may result in substantial monetary and even criminal
penalties against you, as well as a presumption of your liability in any civil lawsuit. Therefore, when and if you decide to
remove any infringing content from public view on your website or social media pages, please take care not to
permanently delete such content.




Brian Wassom




From: Wassom, Brian D.
Sent: Thursday, August 28, 2014 10:45 AM
To: RoveConcepts
Cc: Siegel, Douglas H.
Subject: RE: Reply
Importance: High



Rove Concepts;



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To our great disturbance and dismay, you have not replied further to my August 1, 2014 email below, nor have you
completed removing infringing content from your site. Even worse, you continue to post new infringing content on
your sites. Examples of infringing content that remains online include:




• On August 27, 2014—yesterday—you post a new article on your blog
(http://blog.roveconcepts.com/2014/08/eames-office-chairs/) prominently featuring Charles Eames' name and the
SoftPad Aluminum Group chairs that we previously insisted that you stop selling (and that you had previously removed
from your site). The same article contains links to two YouTube videos featuring the chairs. The most recent of these
videos was posted 2 days ago.

• On the same day, you used the Eames name on Twitter—where your account profile still displays the photo of an
Eames Lounge Chair. Other recent tweets likewise use the Eames name.

    Your Google+ page continues to display photos of infringing Eames reproductions.

    Your Facebook page still display an Eames lounge chair.

    You Instagram account displays several photos of Eames lounge chairs.

    The your home page prominently displays Eames lounge chairs.

• Your YouTube channel still features several videos discussing and offering the Eames lounge chair. One
example: httPs://www.voutube.com/watch?v=LH Mi7r5 2o

    The metadata on http://www.roveconcepts.com/ still contains several uses of the EAMES name.

• The Eames name and its signature lounge chair are displayed on the following pages:
http://www.roveconcepts.com/eames-lounge-chair 643.html. http://www.roveconcepts.com/eames-charles-and-
rav eames-lounge-chair-ottoman.html

• The EAMES name and Charles & Ray Eames' likenesses are displayed at
http://www.roveconcepts.com/designer eames-charles-and-rav.html




Even more disturbingly, it appears that at least some pages on your website that offer EAMES knock-offs for sale cannot
be accessed from our law firm's IP addresses, but can be accessed through devices on other networks. This suggests
that you have intentionally blocked our access in order to pretend that you have complied with our demands, when in
fact you have not.




All of this behavior suggests a deliberate, willful decision on your part to ignore—indeed, to thumb your noses at—our
client's valuable IP rights. Rest assured that our client takes your brazen infringement very seriously and will take every
action necessary to enforce its rights. You would be well-served to abandon your impetuous behavior now.




Brian Wassom

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From: Wassom, Brian D.
Sent: Friday, August 01, 2014 4:39 PM
To: RoveConcepts
Cc: Siegel, Douglas H.
Subject: RE: Reply




Rove Concepts;




Thank you for your additional efforts. It does appear that you have removed several more infringements, including the
Eames Aluminum Group chairs. In light of your comment, I have not yet re-checked your social media pages. I do see,
however, that several infringements remain on your website. Examples are attached. They include use of the EAMES
name in connection with several dining chairs and in the meta-data of several of your pages. The Eames Lounge Chair
still appears in news articles reproduced on your site, and in pages that have not been deleted.




Brian Wassom




From: RoveConcepts rmailto:info@roveconcepts.com1
Sent: Friday, August 01, 2014 4:12 PM
To: Wassom, Brian D.
Subject: Re: Reply



We have further removed additional content as request please check. Some items listed such as social media and other specific pages
we have provided instructions to our website's management company to remove. This should not take more than one week.




On Tue, Jul 29,2014 at 7:13 AM, Wassom, Brian D. <BWassom@honigman.com> wrote:

Rove Concepts;




1 appreciate your attempt to comply with your legal obligations, and acknowledge that your website now lists the Eames
Lounge Chair as having been "removed" from the site. I note, however, several continuing examples of infringement on
your website and social media pages. Attached are at least 17 examples. Recall that our client owns the right to use the
"Eames" name in commerce, as well as the various chair designs discussed in our prior correspondence. Please rectify
these infringements immediately.
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Brian Wassom




From: RoveConcepts rmailto:info@roveconcepts.coml
Sent: Monday, July 28, 2014 6:41 PM
To: Wassom, Brian D.
Subject: Re: Reply



As indicated we would like to update you that we have proceeded to remove trademarked content in question from our website.




On Fri, Jul 25,2014 at 1:46 AM, RoveConcepts <info@roveconcepts.com> wrote:

Hi Brian,

Our latest correspondence with Mr. Morton, as he can confirm with you, is that he has referred us to a US firm.

We wanted to reach out at this time to inform you we are preparing a more substantive reply to your concerns to follow early next
week. Please do continue to reach us at this email with your replies.

Regards,




Rove Concepts

Toll Free: 1.800.705.6217


Website: http://www.roveconcepts.com/


News: http://www.prweb.eom/releases/2013/9/pfweb11111222.htm




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delete this message. Thank you.                                                                                                                                                                          •




Rove Concepts

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Rove Concepts

Toll Free: 1.800.705.6217


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